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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


UNITED STATES OF AMERICA  )
                          )                   CRIMINAL ACTION NO.
     v.                   )                     3:94cr114-MHT-7
                          )                           (WO)
SCOTTIE FITZGERALD ROWELL )

                                    ORDER

       Upon consideration of the memorandum submitted by

the     probation     department       (doc.    no.   1639)      requesting

that the pending revocation petition be dismissed and

that     supervised      release      be    terminated,    and    for   good

cause, it is ORDERED that:

       (1)    The    motion     for        disposition    of     revocation

petition (doc. no. 1636) is granted.

       (2) The petition for revocation (doc. no. 1492) is

dismissed without prejudice.

       (3) Defendant Scottie Fitzgerald Rowell’s term of

supervised release is terminated effective immediately

and he is discharged.

       DONE, this the 9th day of August, 2016.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
